  Case 3:16-cr-00611-MAJ   Document 101     Filed 03/14/17   Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff                                  CRIMINAL 16-0611-01CCC
 vs
 1) FRANKIE ORTIZ-JAIME,
 a/k/a “Jaime Ortiz,” a/k/a “Jaime
 Rivera,” a/k/a “Ortiz Jaime,”
 a/k/a “Frank Aponte,” a/k/a “Frankie
 Galarza” (Counts 1-19)
 Defendant


                                    ORDER

      Having considered the Report and Recommendation filed on
February 24, 2017 (d.e. 76) on a Rule 11 proceeding of defendant [1] Frankie
Ortiz-Jaime before U.S. Magistrate-Judge Silvia Carreño-Coll on February 24,
2017, to which no objection has been filed, the same is APPROVED.
Accordingly, the plea of guilty of defendant is accepted. The Court FINDS that
his plea was voluntary and intelligently entered with awareness of his rights
and the consequences of pleading guilty and contains all elements of the
offense charged in the indictment. Defendant is advised, however, that the
Court will defer its decision on whether to accept or reject the parties’ Fed. R.
Crim. P. 11(c)(1)(C) plea agreement until it has reviewed the Pre-Sentence
Report.
      This case was referred to the U.S. Probation Office for preparation of a
Presentence Investigation Report since February 24, 2017. The sentencing
hearing is set for MAY 25, 2017 at 4:30 PM.
      The U.S. Probation Officer is reminded that, should any objections be
raised by defendant to the PreSentence Report, the Addendum to said
  Case 3:16-cr-00611-MAJ    Document 101    Filed 03/14/17   Page 2 of 2




CRIMINAL 16-0611-01CCC                  2

PreSentence Report must specifically identify any unresolved objections, the
grounds for the objections, and the U.S. Probation Officer’s comments on
them, as required by Fed. R. Crim. P. 32(g). The party that raised the
unresolved objections shall, within twenty-four (24) hours after the
Addendum is disclosed, state in writing whether it will insist that the unresolved
objections be ruled upon by the Court. Failure to do so will be deemed by the
Court as a withdrawal of the unresolved objections.
      SO ORDERED.
      At San Juan, Puerto Rico, on March 14, 2017.



                                     S/CARMEN CONSUELO CEREZO
                                     United States District Judge
